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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                              WESTERN DIVISION
 ______________________________________________________________________________

 RowVaughn Wells, Individually and as
 Administratrix Ad Litem of the Estate of
 Tyre Deandre Nichols, deceased.

        Plaintiff,
                                                             Case No.: 2:23-cv-2224
 v.                                                          JURY DEMANDED

 The City of Memphis, a municipality;
 Chief Cerelyn Davis, in her official capacity;
 Emmitt Martin III, in his individual capacity;
 Demetrius Haley, in his individual capacity;
 Justin Smith, in his individual capacity;
 Desmond Mills, Jr., in his individual capacity;
 Tadarrius Bean, in his individual capacity;
 Preston Hemphill, in his individual capacity
 Robert Long, in his individual capacity;
 JaMichael Sandridge, in his individual capacity;
 Michelle Whitaker, in her individual capacity;
 DeWayne Smith, in his individual capacity and
 as an agent of the City of Memphis,

       Defendants.
 ______________________________________________________________________________

         NOTICE OF SERVICE OF DEFENDANTS’ INITIAL DISCLOSURES
                     PURSUANT TO FED. R. CIV. P. 26(a)(1)(A)
 ______________________________________________________________________________

        COMES NOW Defendant, Michelle Whitaker, by and through undersigned counsel of

 record, and hereby gives Notice of the Service of her Initial Disclosures Pursuant to Fed. R. Civ.

 P. 26(a)(1)(A), on September 12, 2023.
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                                              Respectfully submitted,

                                              SPENCE PARTNERS

                                       By:    /s/ Andrew M. Horvath
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                                              Attorneys for Defendant Michelle Whitaker



                                 CERTIFICATE OF SERVICE

          I hereby certify that on September 12, 2023, I electronically filed the foregoing document
 with the Clerk of Court by using the Court’s electronic filing system, which sent notification of
 filing to all counsel of record.

                                               /s/ Andrew M. Horvath




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